Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 1 of 7 PageID: 11973




            Exhibit 31
 Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 2 of 7 PageID: 11974

                       0 a. Keyland Ct.
                         hernia, NY. 11716
                                                                                                                                 invoice
                                                                                                                          Date                  nvoice

   one #      (20 499-7630     info@latinfoodUS.corn
 Fax #        (201) 706-7669   www%LatinfoodUS.com

  Bill To                                                                                  Ship To
S P0209                                                                                 PARA COBRAR NV( )Ic1 DEBE r                   LR AÌ 11
Food Fair-Paterson                                                                      LAS 2:00 P.M
946 Market Street
Paterson. NJ 07513
USA

Cust. Tel:      862 257 1181 Marcela

  Cust Open Bal.                USD 2067,60

                                                       Rep            Zn          Rta                   Ship                 Terms              Du -'Date

                                                        WZ   I    NJO3          1\1303-A             06/18/2015              Net 30            07/18/2015


    SKU           QTY                             Description                                Size       Unts/Cs                     t Price      Ext. Ann.
     ,    "
                                                                                                           12                                        3-r15
    0270          1        Chorizo Argen o - ZENU - PREPRICEI) S 3 99                      16 Oz
                           Salchicha Ranche Tradicional   PREPR10ED AT 4 98'               150z            12                                        39.00
    0264          1

                           Chorizo Antioqueño     PREPRICED M $ 199 d'                     150z            12                                        31.15
    0200:         1
                           Chorizo Con Ternera I V ---- PREPRICED AT S 4.99."              150z            12                                        39.00
    0218          1


                                                                                                           12                         39.00          39.00
  e 0263           1       Su-perianchra
                                     e   Zenu -PREk10ED AT
                                                             ,    4 98                     15 Oz




                                                                                                                Total this Invoice             USD 179A0
    Cases Received:
                                                                                                      No Returns after 30 days from date received,
          Rcceived b                                                                                 Discrepancies must be noted at Ilene of delivery
                                                                                                                  TeX Rev A. Apply.
                                                                                                   $50 fee will be assesed for any bounced checks.
 Payment rendered:                                     Cash / Check                           AH products on this invoice are the property of Latirifood till
                                                                                                                      mid in full,




                                                                                                                                              FoodFair0000026
      Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 3 of 7 PageID: 11975



                     .            Keyland Ct.                                                                                               Invoice
                              ohemia, NY. 11716

                                                                                                                                  06/30/2015        1          8550
'If   one       (20 499-7630          in fo@latintbodUS.com
, Fax           (201) 706-7669        www,LatinfoodUS.com



SP0209
      Bill To                                                                                        Ship To

                                                                                                    PARA COBRAR INVOICE DEBE DE SER ANTES DE
                                                                                                                                                                         J
Food Fair-Paterson                                                                                  LAS 2:00 PM
946 Market Street
Paterson4Nj 07513
USA

 Cyst, Tel:              862 257 1181 Marcela




                                                                            Zn                Rta                   Ship                 Terms            1   Due Date
                                                                                                         1                       i
                                                                WZ         N103           N.103-A                0650/2015               Net 30           I 07130/2015
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        SKU                QTY                               Description                                Size      i Unts/Cs f umi j Unit Price j              Ext. Aim    1
                 j

                                   Salchicon Tradicional Zeno PREPR10ED-#AT S 298                     16 Oz            24                         48.00           48.00
                                   Chorizo Con Ternera I Veal - PREP/MED AT S4.90 -                   15 Oz            12                         39.00           39.00
                                   Chorizo Antioque1to    PREPR10ED AT S.3,9,9                        15 Oz            12                         31,20           31.20
                                                                              98 ; .                  15,01            12                         39,00           39.00
                                   Saper Ranchent- Zeno    PREPRICED AT P1.                    #
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                                                                                                                       24                         77.69           77,69
                                                                                                                                                   7,46          149.20




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                                                                                                             All products on this invoice= the property of Latinfood till
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         Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 4 of 7 PageID: 11976



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                          o a Key1and c.
                           °hernia, NY. 11716
                                                                                                                                                                                            Invoice
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          one #    (20 499-7630     info@l tinroodUS.com                                                                                                                          07/09/2015                  18609
           #       (201) 706-7669   www.LatinfoodUs.com                                                                                                                                           J


         Bill To
                                                                                                                                        Ship To
    SP0209
    Food Fair-Paterson                                                                                                              PARA COBRAR INVOICE DEBE DE SER ANTES DE
    946 Market Street                                                                                                               LAS 200 PM
    Paterson, NJ 07513
    USA

        eta Tel:     862 257 1181 Marcela

         Cust. Open Bai.             USD 1241,16

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                                                                       WZ                      N.103                   NJ03-A                      07/09/2015             j             Net 30         08108/2015

          SKU                                                    Description                                                               Site.        I Unts/Cs I U                    Unit Price     Ext Amt
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  Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 5 of 7 PageID: 11977




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                                                                                                   0711512015                    18641
     e       00 499-7630 - inf otipatirrföodUS,com
             (2.4)706-7669 wvv,LatintovdUS.c:Czn
  Bill To                                                                Ship To

SP0209                                                                 PARA COBRAR INVOICE DEBE DE SER ANTES DE
rood Fair-Paterson                                                     LAS 2904 PM
946 Market Street
Paterson, Na 07513
 USA

Gust. Tel:        862 257 1181 Marcela

     ust Open Bal.                 SD 1777.15
                                                                 Ria                  Ship                  Terms               Due Date

                                                                           I       07/15/2015              Net 30              08/14/2015
                                                     Z   N103   N103-A


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  Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 6 of 7 PageID: 11978




               *
                         0 13. Keyland Ct.
                                                                                                                                                          invoice
                          ohemia, NY. 11716                                                                                                       Date                 Invoke
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                                                                                                                                              07/23/2015                 18689
      lone #   (20 499-7630        mfotidatinfoodUS.corn
 Fax Ai        (201) 706-7669      www, Lat n food US.com

  Bill To                                                                                                         Ship T

SP0209                                                                                                        PARA COBRAR INV( )l :E DEBE DE SER A, TES DE
Food Fair-Paterson                                                                                            LAS 2:00 PM
946 Market Street
Paterson, NJ 07513
USA

Cust. Tel:         862 257 1181 Marcela

      Cust. Open Bal.                   USD 1979.95

                                                                                                                               Ship                  Terms              Due Date

                                                                              WZ              NJ03       Ni03-A            07/23/2015                Net 30            08/22/2015


      SKU            QTY                                                   Description                              Size          js         WM          Unit Price     Ext. Amt

                               Chorizo Con Ternera / Veal -- PREPR10ED AT $ 4.99                                  15 Oz           12                          27.00          27.00
       0218          I
                           '   ******** PROMOTIONAL PRICE FOR CIRCULAR

                               Chorizo AntroqueFto -?REPRICED AT $ 3.99                                           15 Oz           12                          27.00          27.00
       0260          1

                               ******** PROMOTIONAL PRICE FOR CIRCULAR

                                                                                                                  16 Oz           12                         27,00           27.00
       0270          I         Chorizo Argentino - Ze,nu
                               ******** PROMOTIONAL, PRICE FOR CIRCULAR




                                                Sc1 A-       tAg\




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       Cases -Received:

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          Received by:.                                                                                                     Discrepancies must be noted at tirne of delivery,
                                                                                                                                          T&C R. A. Apply.
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 Payment rendered:                                                           Cash / Check #                           All products on this invoice are the property of Latinfood till
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 Case 2:16-cv-06576-KM-MAH Document 266-31 Filed 10/10/22 Page 7 of 7 PageID: 11979



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                            nhenlía,. NY. 1 i.71 6                                                                                                            ..Invri.ice

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 I   one it    (20 499-7630         tntb4latrntciciritJS.cortr
 (`at #        (201 ) 706-7669      www,latinl'rrcrcíUS,coin

                                                                                                  Ship To

SP0209                                                                                         PARA COBRA R             (.)I    D         I31'ä S1-          ;TES [:
l ïs(id l'air-Paterson                                                                         LAS 2J10 PM
94(; Market Street.
Paterson, NJ 07513
USA

Cust, Tel:        862 2571181 Marce

     CusÍ. Open Bal.                  l?Sl 2040.03

                                                                 Rep                     Rla                                             J`er   .k              Due Date


                                                                 WZ.        NJO3        N.103-A             07/30/20                   Net 30


     SKI!                                                                                           Size                                   Unit ['rice                 Amt
                    QTY                                    Description
     t)2fr4                     Salchicha Ranchera Tradicional p£'REPRICEt) AT S 4 98             15 Oz             2                                39.00             3.t?0
                    I
                                Super Ranchera - Zenu -- PREPRICED AT S 4,9R                      15 Oz            12                                39.               39.00
     1.12(a3        1

                                Chorizo Anhraqueâo --- PREPRICEQ AT S 3 99                        15 Of            12                                3 .20             31.20
     1326t1         I




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                                                                                                                        Total this Invoice                      USO 109
      Cases Received:

                                                                                                              No Returns-after-30 days from date received.
          Received by:                                                                                       Discrepancies Must .be noted at tinle of ileliVery.
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                                                                                                             $50 fee t;=01 be asseed for any bounced checks,
               rendered:.                                        Casl? I Check 0                      All prçaducts.än:this invoke are the property ofLa.tinfcrc.z.ti till
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